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                  IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             VICTORIA DIVISION

In re:                                  )
                                        )
INFOW, LLC                              )                 60020
                                            Case No. 22 - _________
                                        )
            Debtor.                     )   Chapter 11 (Subchapter V)
In re:                                  )
                                        )
IWHEALTH, LLC                           )                  60021
                                            Case No. 22 - _________
                                        )
            Debtor.                     )   Chapter 11 (Subchapter V)
In re:                                  )
                                        )
PRISON PLANET TV, LLC                   )                  60022
                                            Case No. 22 - _________
                                        )
            Debtor.                     )   Chapter 11 (Subchapter V)

DEBTORS’ EMERGENCY MOTION FOR ORDER AUTHORIZING APPOINTMENT
OF RUSSELL F. NELMS AND RICHARD S. SCHMIDT AS TRUSTEES OF THE 2022
   LITIGATION SETTLEMENT TRUST AND GRANTING RELATED RELIEF

THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF YOU
OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE MOVING PARTY
TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY CANNOT AGREE, YOU
MUST FILE A RESPONSE AND SEND A COPY TO THE MOVING PARTY. YOU MUST
FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE DATE THIS WAS
SERVED ON YOU. YOUR RESPONSE MUST STATE WHY THE MOTION SHOULD NOT
BE GRANTED. IF YOU DO NOT FILE A TIMELY RESPONSE, THE RELIEF MAY BE
GRANTED WITHOUT FURTHER NOTICE TO YOU. IF YOU OPPOSE THE MOTION AND
HAVE NOT REACHED AN AGREEMENT, YOU MUST ATTEND THE HEARING. UNLESS
THE PARTIES AGREE OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT THE
HEARING AND MAY DECIDE THE MOTION AT THE HEARING.

REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

EMERGENCY RELIEF HAS BEEN REQUESTED AND IF THE COURT CONSIDERS THIS
MOTION ON AN EMERGENCY BASIS, THEN YOU WILL HAVE LESS THAN TWENTY-
ONE (21) DAYS TO ANSWER. IF YOU OBJECT TO THE REQUESTED RELIEF, OR IF YOU
BELIEVE THAT EMERGENCY CONSIDERATION IS NOT WARRANTED, YOU SHOULD
FILE AN IMMEDIATE RESPONSE.

RELIEF IS REQUESTED ON OR BEFORE APRIL 22, 2022.
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       InfoW, LLC (“InfoW”), IWHealth, LLC (“IW Health”), and Prison Planet TV, LLC

(“Prison Planet TV”, and together with InfoW and IW Health, the “Debtors”), the debtors and

debtors-in-possession in the above-captioned chapter 11 cases, hereby move for entry of an order

substantially in the form attached hereto (the “Proposed Order”) pursuant to section 105(a) of title

11 of the United States Code (the “Bankruptcy Code”) and Rule 6003 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”) authorizing the appointment of Russell F. Nelms

and Richard S. Schmidt as the trustees (the “Litigation Settlement Trustees”) of the 2022 FSS

Litigation Settlement Trust (the “Litigation Settlement Trust”) (the “Motion”), which trust holds

all of the of the equity in the Debtors. In support of the Motion, the Debtors respectfully represent

as follows:

                          REQUEST FOR EMERGENCY HEARING

       1.        The Debtors seek emergency consideration of this Motion on or before April 22,

2022, or as soon after as the Court’s schedule will allow. Appointment of the Litigation Settlement

Trustees is necessary so that the Debtors’ corporate governance is in the hands of two individuals

well-versed in fiduciary law and with years of experience supervising debtors to maximize

recoveries for creditors. Former judges Russell F. Nelms and Richard S. Schmidt have both agreed

to serve as Litigation Settlement Trustees, but only on the condition that their appointment is

approved by the Court.

                                        JURISDICTION

       2.        The United States Bankruptcy Court for the Southern District of Texas (the

“Court”) has jurisdiction over this matter pursuant to 28 U.S.C. § 1334(b). This matter is a core

proceeding under 28 U.S.C. § 157(b)(2)(A). Venue is proper before this Court pursuant to 28

U.S.C. § 1408.



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           3.       The basis for the relief requested herein is Bankruptcy Code § 105(a).

                                                 BACKGROUND

       A. Case Background

           4.       On April 18, 2022 (the “Petition Date”), each of the Debtors commenced a case by

filing a petition for relief under chapter 11, subchapter v, of the Bankruptcy Code (collectively,

the “Chapter 11 Cases”).

           5.       The Debtors continue to operate their businesses and manage their properties as

debtors and debtors-in-possession pursuant to Bankruptcy Code §§ 1107(a) and 1108.

           6.       As of the filing of this Motion, no creditors’ committee has been appointed in the

Chapter 11 Cases by the Office of the United States Trustee for Region 7 (the “U.S. Trustee”).

       B. The Debtors

           7.       The Debtors are holdings companies for certain intellectual property assets. Debtor

InfoW owns copyrights and domain names related to “Infowars.com.” Debtor IWHealth owns cash

flow from royalties and/or an agreement with Youngevity. Debtor Prison Planet TV owns

copyrights and domain names related to prisonplanet.tv.

           8.        “Infowars”—a conspiracy-oriented website and media company—is operated by

Free Speech Systems, LLC (“FSS”), which does business under a registered trademark for that

name. InfoW and Prison Planet TV license their intellectual property and domain names to FSS

for use in its business but the Debtors do not produce or have any control over the content of

Infowars. FSS maintains and operates the website https://www.infowars.com/.1

           9.       Alex E. Jones (“Jones”) owns one hundred percent (100%) of the equity in FSS.

Prior to the Petition Date, Jones also owned one hundred percent (100%) of the equity of InfoW,



1
    The Debtors have been advised that all the assets of FSS serve as collateral to repay obligations to PQPR Holdings.

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IWHealth and Prison Planet TV. He assigned these equity interests to the 2022 Litigation

Settlement Trust before the Petition Date.

    C. Pending Litigation Against the Debtors

         10.      The Debtors’ financial distress stems primarily from statements of Jones and other

employees of FSS in the wake of the December 14, 2012, mass shooting at Sandy Hook

Elementary School in which 20 children and 6 educators were killed by Adam Lanza. Various

parents of the deceased victims of the Sandy Hook shooting assert, among other things, that these

statements were defamatory and inflicted emotional distress.

         11.      The relatives of the Sandy Hook victims and certain other parties (the “Sandy Hook

Plaintiffs”) assert, among other things, that Jones and other employees of FSS made defamatory

statements and inflicted emotional distress. In 2018, the Sandy Hook Plaintiffs brought actions in

Texas and Connecticut (collectively, the “Sandy Hook Lawsuits”) against Jones, FSS, and certain

of the Debtors. The crux of the allegations in the Sandy Hook Lawsuits is that Jones and FSS

employees damaged the Sandy Hook Plaintiffs by saying or implying that the Sandy Hook

shooting did not occur, and that the entire incident was a “false flag” hoax.

         12.      The Debtors are also defendants in other pending litigation unrelated to the events

at Sandy Hook elementary school:2

        Marcel Fontaine v. Alex E. Jones, Infowars, LLC, Free Speech Systems, LLC, and Kit
         Daniels, Cause No. D-1-GN-18-001605, pending before the 459th District Court for Travis
         County, Texas—This case involves an article authored by an FSS employee about the
         shooter at Marjory Stoneman Douglas High School in Parkland, Florida. Iterations of the
         article included a photograph of the plaintiff, even though the plaintiff was not involved
         with the shooting or even in Florida at the time.

        Neil Heslin, Scarlett Lewis, Leonard Pozner, Veronique De La Rosa, Marcel Fontaine v.
         Alex E. Jones, Infowars, LLC, Free Speech Systems, LLC, PQPR Holdings Limited LC,

2
 On April 11, 2022, the U.S. District Court for the Western District of Virginia entered a Stipulation and Order [Dkt.
No. 504], resolving the defamation action in Brennan M. Gilmore v Alexander E. Jones, et. al., Case No. 3:18-cv-
00017-NKM-JCH, resolving that litigation in exchange for a $50,000 settlement to the plaintiff.

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         JLJR Holdings, LLC, PLJR Holdings, LLC, Carol Jones, David Jones, PQPR Holdings,
         LLC, JLJR Holdings Limited, LLC, AEJ Holdings, LLC, AEJ Trust 2018, Cause No. D-1-
         GN-22-001610, pending before the 200th District Court for Travis County, Texas—This
         lawsuit was brought by the plaintiffs in the other Texas lawsuits under the Texas Uniform
         Fraudulent Transfer Act (“TUFTA”). The allegations are that Jones diverted his assets to
         companies owned by insiders like his parents, his children, and himself. The Plaintiffs seek
         judgment allowing them to take possession and execute on the assets.

        Larry Klayman v Infowars, LLC, et al., Case No. 20-61912, before the U.S. District Court
         for the Southern District of Florida, Fort Lauderdale Division—The plaintiff in this case
         brought claims against InfoWars, LLC, Free Speech Systems, LLC, Alex Jones, David
         Jones, and Owen Shroyer for defamation, Florida Deceptive and Unfair Trade Practices
         Act, tortious interference, and violation of the Lanham Act for publishing disparaging
         statements about the plaintiff. On April 14, 2022, the District Court entered a take-nothing
         judgment in favor of the InfoW and the other defendants. The plaintiff has appealed to the
         Eleventh Circuit Court of Appeals.

         13.      Jones, FSS, and the Debtors have spent more than $10.0 million in legal fees and

expenses since commencement of the Sandy Hook Lawsuits. Despite the substantial amount spent,

both the Texas and Connecticut courts have imposed multiple sanctions and ruled that Jones, FSS,

and the Debtors failed to comply with discovery requirements such that judgment on liability has

been entered against them by default.3 No court has yet to quantify the amount of the damages.

         14.      The pending litigation presents a classic “race to the courthouse.” The Texas court

is scheduled to be the first damages case to go to trial and is set to commence with jury selection

on April 25, 2022. The damages trial in the Texas actions is scheduled for months before the

damages will be determined in the actions pending in Connecticut.

         15.      Given the limited cash on hand available to the Debtors, Jones, and FSS, there is a

substantial likelihood that efforts to collect on a judgment of the Texas actions would result in

leaving nothing left for the Connecticut Sandy Hook Plaintiffs or other creditors. Indeed, prior to




3
 The applicable Debtors do not intend to challenge any determination of liability entered by the respective state courts
unless the claimant elects to liquidate their claims through continuation of the litigation.

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even liquidating their claims, the Texas plaintiffs sought execution by initiating the TUFTA

litigation.

    D. 2022 Litigation Settlement Trust

         16.      To address the Sandy Hook Lawsuits and other litigation, and preserve assets for

equal distribution to all creditors, the Debtors, Jones, and FSS have created the 2022 Litigation

Settlement Trust to provide a mechanism for the payment in full of the litigation claims. A copy

of the of trust is attached as Exhibit A hereto (the “Declaration of Trust”).4

         17.      The Litigation Settlement Trust removes control of the Debtors and settlement

funds from FSS and Jones and ensures that settlement of or judgment in the Sandy Hook Lawsuits

and other litigation will be paid according to the terms of the Declaration of Trust and any plan of

reorganization confirmed in these Chapter 11 Cases. The Litigation Settlement Trust has been

initially funded pursuant to the funding agreement attached to the Declaration of Trust and the

Plan Support Agreement, attached hereto as Exhibit B hereto, as may be amended (the “PSA”).5

The “Initial Trust Funding” of $725,000 for administration of these Chapter 11 Cases has been

paid to the interim trustee or the Debtors’ professionals from exempt personal assets of Jones.

Upon confirmation of a plan, the Litigation Settlement Trust is expected to be funded with

additional funds, including $2,000,000 in cash on the effective date.

    E. Proposed Litigation Settlement Trustees

         18.      The Declaration of Trust contemplates that the Litigation Settlement Trustees will

be “two individuals approved by the Bankruptcy Court to serve as Trustees of the Litigation

Settlement Trust who will replace the interim trustee serving in that capacity prior to the filing of



4
  The proposed Litigation Settlement Trustees have indicated that they intend to seek modifications to the Declaration
of Trust.
5
  The proposed Litigation Settlement Trustees have indicated that they intend to seek certain modifications to the PSA.

                                                          6
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the Bankruptcy Cases.” This provides a clean break between the Debtors’ former management and

allows the funding of a proposed plan to be negotiated at arm’s length between the Debtors, FSS,

and Jones. At the same time, the Litigation Settlement Trustees will be given access to the current

financial information of FSS and Jones to effectuate a confirmable plan that provides payment in

full of allowed claims.

       19.     Former bankruptcy judges Russell F. Nelms and Richard S. Schmidt have agreed

to serve as the Litigation Settlement Trustees. Russell F. Nelms was appointed as a judge for the

U.S. Bankruptcy Court for the Northern District of Texas on November 22, 2004, and served

through the end of his term on November 21, 2018. Richard S. Schmidt was appointed as a judge

for the U.S. Bankruptcy Court for the Southern District of Texas on July 31, 1987, was reappointed

in 2001, and served through the end of his term on July 30, 2015. Both Russel F. Nelms and

Richard S. Schmidt have the experience, knowledge, and ability to oversee the Debtors, understand

their duties to creditors and to facilitate the allowance of Litigation Claims for payment. They each

have years of experience on and off the bench doing exactly this job.

                                     RELIEF REQUESTED

       20.     The Debtors request entry of an order, substantially in the form of the Proposed

Order attached hereto, authorizing the appointment of Russell F. Nelms and Richard S. Schmidt

as the Litigation Settlement Trustees and granting related relief.

       21.     The related relief incorporates certain terms of the Declaration of Trust with respect

to the Litigation Settlement Trustees. In particular, the Debtors seek an order providing that the

Litigation Settlement Trustees: (a) have all powers and duties of managers of the Debtors; (b) are

exculpated for actions relating to or arising out of the Chapter 11 Cases except with respect to acts

or omissions constituting willful misconduct or gross negligence as determined by a final order by



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a court of competent jurisdiction, (c) may be compensated from assets of the Litigation Settlement

Trust that do not comprise assets of the Debtors’ estates without further order of the Court, (d)

may resign upon sixty (60) days’ notice without further order of the Court; and (e) may be removed

only by order of the Court for cause shown by clear and convincing evidence upon the motion of

a majority of the members of the Litigation Settlement Trust Board (as defined in the Declaration

of Trust).

                                      BASIS FOR RELIEF

       22.     Section 105(a) of the Bankruptcy Code provides that bankruptcy courts “may issue

any order, process, or judgment that is necessary or appropriate to carry out the provisions of [the

Bankruptcy Code].” The provisions of chapter 11 of the Bankruptcy Code, and particularly

subchapter v, aim ultimately to facilitate the confirmation of a consensual plan of reorganization.

See In re MPM Silicones, LLC, No. 14-22503-RDD, 2014 WL 4637175, at *3 (Bankr. S.D.N.Y.

Sept. 17, 2014) (discussing “the Bankruptcy Code's overall policy of fostering consensual plans of

reorganization”); cf. 11 U.S.C. § 1183(b)(7) (requiring subchapter v trustees to “facilitat[e] the

development of a consensual plan of reorganization.”). Preservation of the bankruptcy estate is

also a key feature of the Bankruptcy Code. See In re CoServ, L.L.C., 273 B.R. 487, 497 (Bankr.

N.D. Tex. 2002) (“Implicit in the duties of a Chapter 11 trustee or a debtor in possession as set out

in Sections 1106 and 704 of the Bankruptcy Code is the duty of such a fiduciary to protect and

preserve the estate, including an operating business's going-concern value”); cf. 11 U.S.C. §

503(b)(1)(A) (providing that “the actional, necessary costs and expenses of preserving the estate”

are administrative expenses of the estate).

       23.     The appointment of former judges Russell F. Nelms and Richard S. Schmidt as the

Litigation Settlement Trustees will advance the goals of a consensual plan in these Chapter 11



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Cases. The likelihood of a consensual plan negotiated by the Debtors’ pre-Litigation Settlement

Trust management is vanishingly small. The Sandy Hook Plaintiffs claim that Jones defamed and

intentionally or negligently inflicted on them emotional distress. When Jones filed an offer of

compromise pursuant to Connecticut procedure, the Connecticut plaintiffs responded that the “so-

called offer is a transparent and desperate attempt by Alex Jones to escape a public reckoning

under oath with his deceitful, profit-driven campaign against the plaintiffs and the memory of their

loved ones lost at Sandy Hook.” Neutral management for the Debtors that can engage in arm’s-

length negotiations is necessary for a consensual plan.

        24.     While the subchapter v trustee that will be appointed in this case would undoubtedly

endeavor towards a consensual plan and could take over the operations of the Debtors under

Bankruptcy Code § 1185, only the Debtor can propose a plan under Bankruptcy Code § 1189. The

Litigation Settlement Trust goes further, empowering the Litigation Settlement Trustees to propose

and implement a plan. Placing the subchapter v trustee in the Twilight Zone of being in control of

the Debtors but not able to propose a plan is neither necessary nor beneficial here.

        25.     Appointment of Russell F. Nelms and Richard S. Schmidt as the Litigation

Settlement Trustees will also prevent unnecessary diminution of the Debtors’ estates. The

subchapter v trustee’s compensation for the expanded role would derive from the Debtors’

bankruptcy estates, rather than the Litigation Settlement Trust. Nelms and Schmidt, on the other

hand, will be paid from assets of the Litigation Settlement Trust that are not assets of the Debtors’

bankruptcy estates.

        26.     Based on the foregoing, the Court is empowered by Bankruptcy Code § 105(a) to

enter the Proposed Order and such other relief that is in the best interests of the Debtors, their

estates, and their creditors.



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       WHEREFORE, the Debtors respectfully request that the Court enter an order, substantially

in the form of the Proposed Order, granting the relief requested in this Motion and such other and

further relief as may be just and proper.



Dated: April 18, 2022                               PARKINS LEE & RUBIO LLP

                                                    /s/R.J. Shannon
                                                    Kyung S. Lee
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                                                    Proposed Counsel to the Debtors and
                                                    Debtors-in-Possession



                               CERTIFICATE OF ACCURACY

      I hereby certify that the foregoing statements are true and accurate to the best of my
knowledge and belief. This statement is being made pursuant to Bankruptcy Local Rule 9013-1(i).



                                                    /s/ R.J. Shannon                     .
                                                    R.J. Shannon




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                                   CERTIFICATE OF SERVICE

        I hereby certify that on April 18, 2022, a true and correct copy of the foregoing document
was served by (a) the Court’s CM/ECF system on all parties registered to receive such service, (b)
by U.S.P.S. first class mail on the parties indicated in the attached service list, and (c) the following
parties by email:

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                                                /s/ R. J. Shannon          .
                                                R. J. Shannon




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